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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
              Plaintiff,                          )
                                                  )
        v.                                        ) No. 4:11CR330 JCH NAB
                                                  )
RICHARD JOHNSON,                                  )
                                                  )
              Defendant.                          )

                               ORDER AND SPEEDY TRIAL FINDING

             This matter is before the Court on Defendant’s Motion to Continue the Motion Hearing

[Doc. #50] filed on August 29, 2011. In support of the Motion Defendant stated

1. That co-defendant Kendra Flymn has moved to continue the aforementioned evidentiary

hearing, because of the unavailability of her counsel.

2. That the facts regarding the motions filed on behalf of each defendant are similar in nature,

and therefore to avoid redundancy and to efficiently utilize the resources of the Court, counsel

hereby request that this cause be continued.

3. That Counsel has personally conferred with co-defendant’s counsel Kevin Curran who

consents to the motion.

4. That Counsel has personally conferred with AUSA Davis who has no objection.

5. That the motion is in the interest of justice and would not unduly delay the disposition of this

case.

             Defendant requested that the pretrial motion hearing previously set for September 9, 2011

be continued.
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       IT IS HEREBY ORDERED that Defendant’s Motion to Continue the Motion Hearing

[Doc. #50] is GRANTED. The motion hearing set for September 9, 2011 shall be continued

until September 14, 2011 at 9:00 a.m.

       Speedy Trial Finding: For the reasons set out in Defendant’s motion, the Court finds

that to deny Defendant’s request for such additional time would deny counsel for Defendant the

reasonable time necessary for effective investigation and preparation of pretrial motions, taking

into account the exercise of due diligence, and that the ends of justice served by granting

Defendant’s request for additional time outweigh the best interest of the public and Defendant in

a speedy trial, and therefore, the time granted to Defendant to investigate and properly prepare

pretrial motions, or a waiver thereof, is excluded from computation of Defendant’s right to a

speedy trial pursuant to 18 U.S.C. §§ 3161(c)(1) and 3161(h)(7).



                                                           /s/ Nannette A. Baker
                                                     NANNETTE A. BAKER
                                                     UNITED STATES MAGISTRATE JUDGE

Dated this 7th day of September, 2011.
